       Case 3:17-cv-04002-LB Document 64-1 Filed 02/08/18 Page 1 of 8



 1   MELODY DRUMMOND HANSEN (S.B. #278786)
     mdrummondhansen@omm.com
 2   HEATHER J. MEEKER (S.B. #172148)
     hmeeker@omm.com
 3   O’MELVENY & MYERS LLP
     2765 Sand Hill Road
 4   Menlo Park, California 94025-7019
     Telephone:    +1 650 473 2600
 5   Facsimile:    +1 650 473 2601
 6   CARA L. GAGLIANO (S.B. #308639)
     cgagliano@omm.com
 7   Two Embarcadero Center
     28th Floor
 8   San Francisco, California 94111-3823
     Telephone:    +1 415 984 8700
 9   Facsimile:    +1 415 984 8701
10   Attorneys for Defendant
     Bruce Perens
11

12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO

15
     OPEN SOURCE SECURITY, INC., and            Case No. 3:17-cv-04002-LB
16   BRADLEY SPENGLER,
                                                 DECLARATION OF MELODY
17                        Plaintiffs,            DRUMMOND HANSEN IN SUPPORT
                                                 OF DEFENDANT BRUCE PERENS’S
18          v.                                   MOTION FOR SANCTIONS AGAINST
                                                 PLAINTIFFS’ COUNSEL UNDER
19   BRUCE PERENS, and Does 1-50,                SECTION 1927 AND THE COURT’S
                                                 INHERENT POWERS
20                        Defendants.
21

22

23

24

25

26

27

28
                                                            DRUMMOND HANSEN DECL. ISO
                                                                MOTION FOR SANCTIONS
                                                                      3:17-CV-04002-LB
       Case 3:17-cv-04002-LB Document 64-1 Filed 02/08/18 Page 2 of 8



 1                     DECLARATION OF MELODY DRUMMOND HANSEN
 2          I, Melody Drummond Hansen, declare as follows:

 3          1.      I am a partner of O’Melveny & Myers LLP (“O’Melveny”), with an office located

 4   at 2765 Sand Hill Road, Menlo Park, CA 94025. O’Melveny is counsel of record for Defendant

 5   Bruce Perens in this case. I am admitted to practice in the State of California. I submit this

 6   Declaration under Civil Local Rule 54-5 in support of Mr. Perens’s Motion for Sanctions

 7   pursuant to 28 U.S.C. Section 1927 and the Court’s inherent powers. I have personal knowledge

 8   and am informed of the facts stated herein and, if called to testify, I could and would testify to the

 9   truth of the following.

10          2.      On September 19, 2017, minutes after Mr. Perens submitted his original Motion to

11   Dismiss and Strike, I received an email from Plaintiffs’ Counsel Rohit Chhabra. In this email,

12   Mr. Chhabra wrote: “Oh.. interesting. This will be a fun game to play. If you guys win, I'll

13   happily pay your bills. :) Game on. ” A true and correct copy of this email is attached here as

14   Exhibit 1.

15          3.      Over the course of the litigation, Plaintiffs’ counsel apparently did treat the

16   litigation as a game to be won. For example, hours after agreeing to extend the deadline for Mr.

17   Perens to file a second motion to dismiss and anti-SLAPP motion to strike to address 12 pages of

18   new allegations and theories in Plaintiffs’ First Amended Complaint, Plaintiffs filed a motion for

19   partial summary judgment. ( ECF No. 24.) Plaintiffs noticed that motion to be heard on

20   November 16, before it would be possible for Mr. Perens’s motions to be heard, considering the

21   October 31 agreed response date for Mr. Perens to respond to the First Amended Complaint. This

22   would also require Mr. Perens to oppose Plaintiffs’ motion for summary judgment before he filed

23   his motions to dismiss and strike, and over the same time period.

24          4.      Mr. Perens’s counsel requested that Plaintiffs agree to defer briefing on Plaintiffs’

25   partial summary judgment motion until after Mr. Perens second motion to dismiss and strike

26   could be heard, because it would serve judicial economy for the Court to decide first whether

27   Plaintiffs could proceed on their claims; a partial summary judgment by definition could not

28   resolve the case; in any case, Plaintiffs’ motion was premature and not likely to be successful; and
                                                                          DRUMMOND HANSEN DECL. ISO
                                                       1                      MOTION FOR SANCTIONS
                                                                                    3:17-CV-04002-LB
        Case 3:17-cv-04002-LB Document 64-1 Filed 02/08/18 Page 3 of 8



 1   proceeding in the way Plaintiffs suggested would lead to unnecessary fees. Plaintiffs’ counsel
 2   refused, contending that it would instead be in the interest of judicial economy to hear the motion
 3   for partial summary judgment, and that Plaintiffs’ summary judgment motion could render Mr.
 4   Perens’s anti-SLAPP motion frivolous or premature based on alleged “wrongdoing” by Mr.
 5   Perens. Ultimately, Mr. Perens was forced to move for a continuance on the summary judgment
 6   motion, after which the best agreement we could reach was a hearing on both Plaintiffs’ motion
 7   and Mr. Perens’s motions at the same time, which led to additional fees based on defense
 8   counsel’s simultaneous briefing and preparation on summary judgment and a motion to dismiss
 9   and strike.
10          5.      With a new complaint to address, as well as a motion for partial summary
11   judgment, the team added first-year associates Eric Ormsby and Marissa Rhoades to assist with
12   the matter.
13          6.      Plaintiffs’ counsel also led to additional work for Mr. Perens’s counsel by
14   misconstruing Mr. Perens’s statements. For example, Plaintiffs’ Reply In Support of Summary
15   Judgment misconstrued statements made by Mr. Perens in a July 9, 2017 comment on the Slashdot
16   website and in his October 31, 2017 Declaration filed in support of his motion to dismiss. The Reply

17   speculated that Mr. Perens must have reviewed the Grsecurity Agreement before posting his July 9

18   Slashdot comment and necessarily opined that the Agreement did not violate the GPL, concocting an

19   alleged “admission” that Mr. Perens’s opinions in his July 10, 2017 blog post were false. See Reply

20   at 3–5 (ECF No. 37.). This forced Mr. Perens to review his files to demonstrate that he did not see a

21   copy of the Agreement until after his July 9 post. See ECF No. 40. I sent a copy of these emails to

22   Mr. Chhabra on November 18, 2017, requesting a stipulation to file a Supplemental Declaration and

23   Surreply to correct the record. Mr. Chhabra opposed the supplemental declaration. Moreover, Mr.

24   Chhabra asserted that Mr. Perens had committed “perjury” by requesting to correct his October 31

25   statement to reflect that he had confirmed from his email records that he reviewed the Grsecurity

26   agreement the morning of July 10, rather than in the evening of July 9, as he previously recalled.

27   Plaintiffs then continued to proffer the same “admission” arguments, including in Plaintiffs’

28   Opposition to the Motion to Dismiss submitted on November 21, 2017. (ECF No. 38.)
                                                                           DRUMMOND HANSEN DECL. ISO
                                                        2                      MOTION FOR SANCTIONS
                                                                                     3:17-CV-04002-LB
        Case 3:17-cv-04002-LB Document 64-1 Filed 02/08/18 Page 4 of 8



 1          7.       Two days before the hearing on Mr. Perens’s motions to dismiss and strike, Plaintiffs

 2   filed a motion for supplemental briefing, to submit arguments on a decade-old case based on a

 3   completely different set of facts. This forced Mr. Perens’s counsel to divert attention from hearing

 4   preparation to respond.

 5          8.       Concurrently with the submission of this motion, I also submitted a Declaration In
 6   Support of Bruce Perens’s Motion for Mandatory Fees and Costs Under California’s Anti-SLAPP
 7   Law. I refer to that Declaration as describing our fees and hours in detail, and supporting
 8   information for why our fees are reasonable. For the sake of economy, I have not included that
 9   information here, but would be happy to supplement a further separate declaration should the
10   Court prefer.
11
            I declare under penalty of perjury under the laws of the United States that the foregoing is
12
     true and correct, and that this declaration was executed this 7th day of February 2018 in San
13
     Francisco, California.
14

15

16                                                          By:   /s/ Melody Drummond Hansen
                                                                  Melody Drummond Hansen
17                                                                Of O’Melveny & Myers LLP
18

19

20

21

22

23

24

25

26

27

28
                                                                           DRUMMOND HANSEN DECL. ISO
                                                        3                      MOTION FOR SANCTIONS
                                                                                     3:17-CV-04002-LB
Case 3:17-cv-04002-LB Document 64-1 Filed 02/08/18 Page 5 of 8




                     Exhibit 1
                   Case 3:17-cv-04002-LB Document 64-1 Filed 02/08/18 Page 6 of 8




From:                                Rohit Chhabra <rohit@thelawfirm.io>
Sent:                                Tuesday, September 19, 2017 12:01 AM
To:                                  Drummond Hansen, Melody
Subject:                             RE: OSS / Perens -- CMC


Oh.. interesting. This will be a fun game to play. If you guys win, I'll happily pay your bills. :) Game on.

Regards,
Rohit

On Sep 18, 2017 11:56 AM, "Drummond Hansen, Melody" <mdrummondhansen@omm.com
<mailto:mdrummondhansen@omm.com> > wrote:


Thank you so much.



Melody




O’Melveny


Melody Drummond Hansen

mdrummondhansen@omm.com <mailto:mdrummondhansen@omm.com>

O: <tel:(650)%20473-2636> +1-650-473-2636


of O’Melveny & Myers LLP

2765 Sand Hill Road

Menlo Park, California 94025

Website <http://www.omm.com/> | LinkedIn <https://www.linkedin.com/company/o'melveny-&-myers-llp> |
<https://twitter.com/omelvenymyers> Twitter | <https://www.omm.com/professionals/melody-drummond-hansen/>
Bio

This message and any attached documents contain information from the law firm of O'Melveny & Myers LLP that may
be confidential and/or privileged. If you are not the intended recipient, you may not read, copy, distribute, or use this


                                                                1
                  Case 3:17-cv-04002-LB Document 64-1 Filed 02/08/18 Page 7 of 8
information. If you have received this transmission in error, please notify the sender immediately by reply e-mail and
then delete this message.



From: Rohit Chhabra [mailto:rohit@thelawfirm.io <mailto:rohit@thelawfirm.io> ]
Sent: Monday, September 18, 2017 11:50 AM
To: Drummond Hansen, Melody
Subject: Re: OSS / Perens -- CMC



Agreed. No problem. :)



ROHIT CHHABRA
Attorney at Law | Admitted in California and New York CHHABRA LAW FIRM, PC Perfection. Honesty. Loyalty. ®
Main: 257 Castro Street #104 Mountain View CA 94041
Ph: (650) 564-7929 <tel:(650)%20564-7929> (W)
web: www.thelawfirm.io <http://www.thelawfirm.io>

CONFIDENTIALITY NOTICE

The contents of this email, including attachments, are confidential and/or subject to attorney-client privilege or the
attorney work product doctrine. Access by anyone besides the intended recipient is not authorized. If you are not the
intended recipient, disclosure, copying, or use of the contents of this email and attachments is prohibited. If you are not
the intended recipient, you are requested to notify the sender and destroy this email and its contents immediately.

On 9/18/2017 11:29 AM, Drummond Hansen, Melody wrote:

Hello, Mr. Chhabra--



I will be traveling (for previously scheduled travel) on the date currently scheduled for the CMC -- October 19. Mr.
Perens also plans to move to dismiss and strike the complaint.



We would like to request that the court reschedule the CMC to a later date, and we think it makes sense to allow the
court an opportunity to rule on Mr. Perens’s motion before the parties appear at the CMC to discuss how the case
should proceed.



Please let us know if OSS is agreeable to moving the CMC, and if so, whether November 16 would work for you as a new
date for the CMC.



I also am available to discuss by phone.

                                                             2
                  Case 3:17-cv-04002-LB Document 64-1 Filed 02/08/18 Page 8 of 8




Thank you!

Melody




O’Melveny


Melody Drummond Hansen

mdrummondhansen@omm.com <mailto:mdrummondhansen@omm.com>

O: <tel:(650)%20473-2636> +1-650-473-2636


of O’Melveny & Myers LLP

2765 Sand Hill Road

Menlo Park, California 94025

Website <http://www.omm.com/> | LinkedIn <https://www.linkedin.com/company/o%27melveny-&-myers-llp> |
Twitter <https://twitter.com/omelvenymyers> | <https://www.omm.com/professionals/melody-drummond-hansen/>
Bio

This message and any attached documents contain information from the law firm of O'Melveny & Myers LLP that may
be confidential and/or privileged. If you are not the intended recipient, you may not read, copy, distribute, or use this
information. If you have received this transmission in error, please notify the sender immediately by reply e-mail and
then delete this message.




                                                             3
